TRUE LIGHT MISSIONARY
BAPTIST CHURCH -

 

 

Anthony F. Halley, Hf, Pastor

Judge Richard D. Bennett

Garmatz Federal Courthouse, Ste. 4228
101 West Lombard Street

Baltimore, Maryiand 21201

Honorable Judge Bennett:

This letter is in reference to James Bowie and his case which is in your court. My name is
Anthony F. Halley II, 1 have known Mr. Bowie for approximately three years. I learned of
Mr. Bowie’s case several months after arriving in Houston. Both my wife and I
immediately began to pray for him

I presently serve as Pastor of True Light Baptist church in Houston, Texas. Upon my
arrival in Houston until present, Mr. Bowie has served as a right hand to me and has been a
tremendous asset to both me and the church. Mr. Bowie is an integral part of our ministry.
He presently serves as the superintendent of our Sunday School ministry (which has grown
tremendously under his leadership) and as one of the ministerial support staff. I have
watched God work miraculously through his life as Mr. Bowie has been a mentor to other
young men. Through our weekly bible study several young men have joined us who would
have otherwise shunned the church. I directly attribute this to the hard work and
faithfulness of Mr. Bowie.

This letter ig to respectively request leniency in this sentencing hearing. While grace does
not obliterate justice, it is with the utmost respect that I ask for leniency in this case.

 

Anthony F. Halley II

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